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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 NANCY G. STAVELY, Derivatively on Behalf of                  )
 FIRSTENERGY CORPORATION,                                     )
                                                              )
                        Plaintiff,                            )
                                                              )   Case No. _______________
         v.                                                   )
                                                              )   JURY TRIAL DEMANDED
 MICHAEL J. ANDERSON, STEVEN J.                               )
 DEMETRIOU, JULIA L. JOHNSON, CHARLES E.                      )
 JONES, DONALD T. MISHEFF, THOMAS N.                          )   JURY DEMAND
 MITCHELL, JAMES F. O’NEIL III, CHRISTOPHER                   )   ENDORSED HEREON
 D. PAPPAS, SANDRA PIANALTO, LUIS A. REYES,                   )
 LESLIE M. TURNER, STEVEN E. STRAH, ROBERT                    )
 P. REFFNER, MICHAEL J. DOWLING, EBONY                        )
 YEBOAH-AMANKWAH, K. JON TAYLOR, and                          )
 JAMES F. PEARSON,                                            )
                                                              )
                        Defendants,                           )
                                                              )
 and                                                          )
                                                              )
 FIRSTENERGY CORPORATION,                                     )
                                                              )
                        Nominal Defendant.                    )

                VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

       Plaintiff Nancy G. Stavely (“Plaintiff”), by her undersigned attorneys, for this complaint

against Defendants (defined below), alleges upon personal knowledge with respect to herself, and

upon information and belief based upon, inter alia, the investigation of counsel and a review of,

among other things, public filings, United States Securities and Exchange Commission (“SEC”)

filings, press releases, news reports, analyst reports, and investor conference transcripts, as to all

other allegations herein, as follows:
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                                   NATURE OF THE ACTION

        1.      This is a shareholder derivative action brought on behalf of nominal defendant

FirstEnergy Corporation (“FirstEnergy” or the “Company”) against certain officers and directors

of the Company.

        2.      As alleged herein, Defendants adopted a corporate policy of providing illegal

payments to government officials, including Ohio Speaker of the House Larry Householder

(“Householder”), in exchange for Householder securing the passage of legislation that provided a

$1.3 billion bailout of the Company’s failed nuclear power plants.

        3.      On July 21, 2020, the U.S. Attorney’s Office for the Southern District of Ohio

announced that Householder and certain affiliates (together, the “Enterprise”) were arrested and

charged in a federal racketeering conspiracy involving approximately $60 million paid by

FirstEnergy and affiliates to a 501(c)(4) entity to pass and uphold the nuclear plant bailout (the

“Criminal Action”). See USA v. Borges, Case No. 1:20-mj-00526 (S.D. Ohio).

        4.      Within hours of the announcement of the Criminal Action, FirstEnergy’s stock lost

up to forty-five percent of its value.

        5.      As set forth herein, Plaintiff seeks relief against Defendants for their breaches of

fiduciary duties and other violations of law, which have substantially injured and will continue to

substantially injure the Company.

                                         JURISDICTION

        6.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 because

Plaintiff’s claims raise a federal question under Section 14(a) of the Securities Exchange Act of

1934 (the “Exchange Act”).

        7.      This Court has supplemental jurisdiction over the state law claims asserted herein



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pursuant to 28 U.S.C. § 1367(a).

        8.      Additionally, diversity jurisdiction is conferred by 28 U.S.C. § 1332. Plaintiff and

Defendants are citizens of different states and the amount in controversy exceeds $75,000.

        9.      This action is not a collusive action to confer jurisdiction on a court of the United

States that it would not otherwise have.

        10.     The Court has personal jurisdiction over each of the Defendants because each

Defendant is an individual who has minimum contacts with this District to justify the exercise of

jurisdiction over them.

        11.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1401 because a

substantial portion of the transactions and wrongs complained of herein occurred in this District,

and Defendants have received substantial compensation in this District by engaging in numerous

activities that had an effect in this District.

                                                  PARTIES

Plaintiff

        12.     Plaintiff was a stockholder of FirstEnergy at the time of the misconduct complained

of herein, and has been a stockholder of First Energy continuously since that time. Plaintiff is a

resident of the State of Maryland.

Nominal Defendant

        13.     Nominal Defendant FirstEnergy is an Ohio corporation with its principal executive

offices located at 76 South Main Street, Akron, Ohio 44308. The Company’s stock trades on the

New York Stock Exchange under the ticker symbol “FE.”

Director Defendants

        14.     Defendant Michael J. Anderson (“Anderson”) has served as a director of



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FirstEnergy since 2007 and serves on the Finance Committee and as Chair of the Audit Committee.

As of July 1, 2020, Anderson owned 59,181 shares of FirstEnergy common stock. Anderson is a

resident of the State of Ohio.

       15.     Defendant Steven J. Demetriou (“Demetriou”) has served as a director of

FirstEnergy since January 2017 and serves on the Finance, Operations, Safety, and Nuclear

Oversight Committees. As of July 1, 2020, Demetriou owned 9,651 shares of FirstEnergy

common stock. Demetriou is a resident of the State of California.

       16.     Defendant Julia L. Johnson (“Johnson”) has served as a director of FirstEnergy

since 2011 and serves on the Finance Committee and as Chair of the Corporate Governance and

Corporate Responsibility Committee. As of July 1, 2020, Johnson owned 10,750 shares of

FirstEnergy common stock. Johnson is a resident of the State of Florida.

       17.     Defendant Charles E. Jones (“Jones”) has served as President, Chief Executive

Officer (“CEO”), and a director of FirstEnergy since 2015. In 2017, Jones earned over $8.75

million in compensation. In 2018, Jones earned over $9.85 million in compensation. In 2019,

Jones earned over $9.07 million in compensation. On March 1, 2018, Jones sold shares of his

FirstEnergy stock for $32.48 per share, yielding proceeds of over $3.7 million. On March 1, 2019,

Jones sold shares of his FirstEnergy stock for $40.73 per share, yielding proceeds of over $6

million. On March 1, 2020, Jones sold shares of his FirstEnergy stock for $44.40 per share,

yielding proceeds of over $10 million. Jones currently owns approximately 699,356 shares. Jones

is a resident of the State of Ohio.

       18.     Defendant Donald T. Misheff (“Misheff”) has served as non-executive Chairman

of the FirstEnergy Board since May 2018 and as a director of FirstEnergy since 2012. He serves

on the Audit and Corporate Governance and Corporate Responsibility Committees. As of July 1,



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2020, Misheff owned 37,157 shares of FirstEnergy common stock. Misheff is a resident of the

State of Ohio.

       19.       Defendant Thomas N. Mitchell (“Mitchell”) has served as a director of FirstEnergy

since 2016 and serves on the Corporate Governance and Corporate Responsibility Committee and

as Chair of the Operations, Safety, and Nuclear Oversight Committee. As of July 1, 2020, Mitchell

owned 18,985 shares of FirstEnergy common stock. Mitchell is a resident of the State of Georgia.

       20.       Defendant James F. O’Neil, III (“O’Neil”) has served as a director of FirstEnergy

since January 2017 and serves on the Operations, Safety, and Nuclear Oversight Committee and

as Chair of the Compensation Committee. As of July 1, 2020, O’Neil owned 14,129 shares of

FirstEnergy common stock. O’Neil is a resident of the State of Texas.

       21.       Defendant Christopher D. Pappas (“Pappas”) has served as a director of

FirstEnergy since 2011 and serves on the Compensation Committee and as Chair of the Finance

Committee. As of July 1, 2020, Pappas owned 49,957 shares of FirstEnergy common stock.

Pappas is a resident of the State of Florida.

       22.       Defendant Sandra Pianalto (“Pianalto”) has served as a director of FirstEnergy

since 2018 and serves on the Compensation and Audit Committees. As of July 1, 2020, Pianalto

owned 5,538 shares of FirstEnergy common stock. Pianalto is a resident of the State of Ohio.

       23.       Defendant Luis A. Reyes (“Reyes”) has served as a director of FirstEnergy since

2013. Reyes serves on the Corporate Governance and Corporate Responsibility and Operations,

Safety and Nuclear Oversight Committees. As of July 1, 2020, Reyes owned 30,782 shares of

FirstEnergy common stock. Reyes is a resident of the State of Georgia.

       24.       Defendant Leslie M. Turner (“Turner”) has served as a director of FirstEnergy since

2018 and serves on the Audit and Compensation Committees. As of July 1, 2020, Turner owned



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1,929 shares of FirstEnergy common stock. Turner is a resident of the State of Florida.

Officer Defendants

       25.       Defendant Steve E. Strah (“Strah”) is President of FirstEnergy. He previously

served as FirstEnergy’s Chief Financial Officer (“CFO”) from March 2018 until May 2020. Prior

to March 2018, Strah served as Senior Vice President of FirstEnergy’s Utilities Operations. In

2017, Strah earned over $2.10 million in compensation. In 2018, Strah earned over $2.79 million

in compensation. In 2019, Strah earned over $2.84 million in compensation. Strah is a resident

of the State of Ohio.

       26.       Defendant Robert Reffner (“Reffner”) is Senior Vice President and Chief Legal

Officer of FirstEnergy. In 2019, Reffner earned over $1.98 million in compensation. Reffner is a

resident of the State of Ohio.

       27.       Defendant Michael Dowling (“Dowling”) is Senior Vice President, External

Affairs, of FirstEnergy. Dowling is a resident of the State of Ohio.

       28.       Defendant Ebony Yeboah-Amankwah (“Yeboah-Amankwah”) is Vice President,

General Counsel, and Chief Ethics Officer of FirstEnergy. Yeboah-Amankwah is a resident of the

State of Ohio.

       29.       Defendant K. Jon Taylor (“Taylor”) is Chief Financial Officer (“CFO”) and Senior

Vice President of FirstEnergy. Taylor is a resident of the State of Ohio.

       30.       Defendant James F. Pearson (“Pearson”) served as CFO of FirstEnergy until March

2018. Pearson served as Vice President of Finance of FirstEnergy from March 2018 through April

2019. In 2017, Pearson earned over $3.46 million in compensation. In 2018, Pearson earned over

$3.84 million in compensation. In 2019, Pearson earned over $4.05 million in compensation. On

January 1, 2019, Pearson sold shares of his FirstEnergy stock for $37.87 per share, yielding



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proceeds of over $1.5 million. Pearson is a resident of the State of Ohio.

       31.     Defendants identified in paragraphs 14 through 24 are collectively referred to

herein as the “Director Defendants.”

       32.     Defendants identified in paragraphs 17 and 25 through 30 are collectively referred

to herein as the “Officer Defendants.”

       33.     Defendants identified in paragraphs 14 through 30 are collectively referred to

herein as “Defendants.”

                                SUBSTANTIVE ALLEGATIONS

Background of the Company and its Nuclear Power Plants

       34.     FirstEnergy was incorporated in Ohio in 1996 and is based in Akron, Ohio. The

Company’s principal business is the holding, directly or indirectly, of all of the outstanding equity

of its principal subsidiaries. In addition, FirstEnergy holds all of the outstanding equity of other

direct subsidiaries. The Company and its subsidiaries are principally involved in the transmission,

distribution, and generation of electricity.

       35.     The Company owned and operated two nuclear power plants in Ohio – the Perry

Nuclear Generating Station and the Davis-Besse Nuclear Power Station (“David-Besse Station”)

– through its subsidiaries FirstEnergy Nuclear Operating Company and FirstEnergy Solutions

Corp. (“FES”). After inspectors found a major acid leak at the Davis-Besse Station, the plant was

closed for substantial repairs from 2002 through 2004. The Company was ultimately fined $28

million as part of a deferred prosecution agreement for misleading regulators in connection with

the damage. Subsequently, as the nuclear facilities continued to grow older, maintenance costs

rose. Moreover, energy prices for alternatives to nuclear energy, such as natural gas, decreased,




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and the Company’s service areas experienced decreasing demand, diminishing the revenue-

generating potential of the Company’s two nuclear plants.

          36.    By the end of 2016, the Company’s nuclear generation outlook looked poor. In the

Company’s 2016 annual report, the Company and its affiliates reported a weak energy market,

poor forecast demands, and hundreds of millions of dollars in losses, particularly from its nuclear

energy plants. FirstEnergy announced future options for its generation portfolio, including

legislative and regulatory solutions for generation assets; asset sales and plant deactivations;

restructuring debt; and/or seeking protection under the bankruptcy laws for its nuclear affiliates.

          37.    As a result, the Company sought a “legislative solution” for its two nuclear plants

in Ohio. During FirstEnergy’s fourth quarter 2016 earnings conference call, Defendant Jones

stated:

          In Ohio, we have had meaningful dialogue with our fellow utilities and with
          legislators on solutions that can help ensure Ohio’s future energy security. Our top
          priority is the preservation of our two nuclear plants in the state and legislation for
          a zero-emission nuclear program is expected to be introduced soon. The ZEN
          program is intended to give state lawmakers greater control and flexibility to
          preserve valuable nuclear generation. We believe this legislation would preserve
          not only zero emission assets but jobs, economic growth, fuel diversity, price
          stability, and reliability and grid security for the region.

          We are advocating for Ohio’s support for its two nuclear plants, even though the
          likely outcome is that [FirstEnergy] won’t be the long-term owner of these assets.
          We are optimistic, given these discussions we have had so far, and we will keep
          you posted as this process unfolds.

          38.    However, attempts to obtain a legislative solution failed.

Householder and the Enterprise

          39.    At the time FirstEnergy was searching for a solution to its nuclear power plant

issues, Householder was reentering politics. Householder regained his State House seat in Perry

County, Ohio, and aimed to win back the Speakership in January 2019.



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       40.     In January 2017, Householder met with FirstEnergy representatives on a Company

private jet. At this time, Householder and the Company struck a corrupt bargain: the Company

would funnel millions of dollars to Householder to support his bid for Speakership, and

Householder would secure the passage of legislation that would ultimately provide a $1.3 billion

bailout of the Company’s failed nuclear power plants.

       41.     In furtherance of Householder’s and FirstEnergy’s plan, in February 2017,

“Generation Now” was created, which was a 501(c)(4) organization that would be used to funnel

dark money from FirstEnergy funds to the Enterprise.

       42.     In March 2017, Householder began receiving $250,000 payments from the

Company, which payments increased until they reached into the millions of dollars per month.

Ultimately, more than $60 million was paid by FirstEnergy and its affiliates to Householder and

the Enterprise in furtherance of the scheme.

       43.     The Enterprise used FirstEnergy payments to support House candidates involved

in primary and general elections who the Enterprise believed would vote for Householder as

Speaker and, ultimately, follow his lead as Speaker and vote for bailout legislation for the

Company. The Enterprise managed the selected candidates’ campaigns, paid to staff them, and

designed and paid for commercials and mailers. Most of the candidates won the 2018 general

election, and all of the candidates who won voted for Householder as Speaker. With the support

from these candidates, Householder was elected Speaker in January 2019.

       44.     Having secured Householder’s power as Speaker, the Enterprise quickly moved

to fulfill its end of the bargain: passing nuclear bailout legislation.

       45.     Not long after Householder’s election as Speaker, House Bill 6 was introduced,

which effectively prevented the shutdown of FirstEnergy’s two failing nuclear power plants.



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House Bill 6 subsidized nuclear energy operations in Ohio through a monthly charge on Ohio

residents’ energy bills. A member of the Enterprise described House Bill 6 as a “bailout” for

FirstEnergy’s nuclear assets, worth $1.3 billion to the Company.

       46.     FirstEnergy continued making millions of dollars of payments into Generation

Now. The Enterprise used some of the money for mailers and media advertisements to pressure

members to support the legislation. Members of the Enterprise also used FirstEnergy money for

their personal benefit.

       47.     Householder and other Enterprise members pressured House members to vote for

House Bill 6, and in May 2019, House Bill 6 passed the House. After Enterprise members placed

pressure on the Senate, the legislation was passed and was signed into law by the Governor.

       48.     Shortly after the Governor signed House Bill 6, a campaign began to organize a

state-wide ballot initiative referendum to overturn the legislation.      The campaign required

organizers to collect signatures of registered voters to put the referendum of House Bill 6 on the

ballot. As a result, FirstEnergy’s and the Enterprise’s scheme continued.

       49.     From July 2019 until October 2019, FirstEnergy-controlled accounts wired tens of

millions of dollars into Generation Now to defeat the ballot initiative so that House Bill 6 would

go into effect. The Enterprise funneled the money to various accounts and entities controlled by

the Enterprise to, among other things, purchase media ads and mailers against the ballot initiative

and bribe signature collectors supporting the referendum.        Members and associates of the

Enterprise also used Company money to further their personal interests. By October 2019, the

ballot campaign failed to collect enough signatures, and House Bill 6 went into effect.

       50.     Over the approximately three-year period, FirstEnergy and its affiliates paid the

Enterprise approximately $60 million in secret payments in exchange for the bailout. The



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millions paid into Generation Now were not regulated, reported, or subject to public scrutiny, and

the Enterprise members spent bribe payments to further their political interests and enrich

themselves. As one member of the Enterprise stated in a 2019 recorded conversation, the

Company operated as the Enterprise’s “Bank.” He stated that Generation Now was the Speaker’s

(c)(4), and FirstEnergy’s “deep pockets” and the money paid to the Enterprise through Generation

Now was “unlimited.” Another member of the Enterprise described the Company’s payments to

the Enterprise as “Monopoly money.”

       51.     Moreover, throughout this time period, Defendant Jones conducted over eighty

telephone conferences with Householder. Householder further had fourteen phone calls with

FirstEnergy’s Vice President of External Affairs, and 188 phone calls with the Company’s

Director of Ohio State Affairs. Thus, the conspiracy was directly orchestrated and overseen by

FirstEnergy’s upper management, including Defendants.

Materially False and Misleading Quarterly and Annual Reports

       52.     On February 21, 2017, FirstEnergy filed its annual report for the fiscal year ended

December 31, 2016 with the SEC (the “2016 10-K”), which was signed by Defendants Jones,

Taylor, and Pearson. The 2016 10-K stated that the Company would be exploring “[l]egislative

or regulatory solutions for generation assets that recognize their environmental or energy security

benefits.” Moreover, with respect to FES, the 2016 10-K stated that “management is exploring

capital and other cost reductions, asset sales, and other options to improve cash flow as well as

continuing with legislative efforts to explore a regulatory solution.” (Emphasis added).

Furthermore, the 2016 10-K stated that FES “complies with the regulations, orders, policies and

practices prescribed by the SEC, FERC, NRC and applicable state regulatory authorities.”

Defendants Jones and Pearson filed signed certifications with the SEC stating that the 2016 10-



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K did not contain any false or misleading statement of fact, fairly presented FirstEnergy’s results

of operations, was the product of effective internal controls, and was free from fraud.

       53.      On February 22, 2017, the Company held an earnings call with analysts and

investors to discuss the Company’s fiscal 2016 financial results, which was led by Jones, Taylor,

and Pearson. During the call, Defendant Jones stated:

       In Ohio, we have had meaningful dialogue with our fellow utilities and with
       legislators on solutions that can help ensure Ohio’s future energy security. Our top
       priority is the preservation of our two nuclear plants in the state and legislation for
       a zero emission nuclear program is expected to be introduced soon. The ZEN
       program is intended to give state lawmakers greater control and flexibility to
       preserve valuable nuclear generation. We believe this legislation would preserve
       not only zero emission assets but jobs, economic growth, fuel diversity, price
       stability, and reliability and grid security for the region.

       We are advocating for Ohio’s support for its two nuclear plants, even though the
       likely outcome is that [FirstEnergy] won’t be the long-term owner of these assets.
       We are optimistic, given these discussions we have had so far and we will keep you
       posted as this process unfolds.

(Emphasis added).

       54.      On April 27, 2017, July 27, 2017, and October 26, 2017, FirstEnergy filed its

quarterly reports with the SEC for the quarters ending March 31, 2017, June 30, 2017, and

September 30, 2017, respectively, which were signed by Defendant Taylor. The filings claimed

that the Company’s nuclear power business continued to comply “with the regulations, orders,

policies and practices prescribed by the SEC, FERC, NRC and applicable state regulatory

authorities.”   Additionally, the filings continued to highlight the efforts of the Company’s

management to secure a regulatory or legislative solution for the problems presented by the

Company’s unprofitable nuclear facilities.      Among other things, the filings stated that the

Company’s management was “continuing with legislative efforts to explore a regulatory solution”

for FES, or was “continuing . . . efforts to explore legislative or regulatory solutions” for FES.



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Defendants Jones and Pearson filed signed certifications with the SEC stating that the quarterly

reports did not contain any false or misleading statement of fact, fairly presented the Company’s

results of operations, were the product of effective internal controls, and were free from fraud.

       55.     On February 20, 2018, the Company filed its annual report for the fiscal year ended

December 31, 2017 with the SEC (the “2017 10-K”), which was signed by Jones, Taylor, and

Pearson. The 2017 10-K stated that the Company would be exploring “legislative or regulatory

solutions for generation assets that recognize their environmental or energy security benefits.”

Furthermore, the 2017 10-K stated that FES “complies with the regulations, orders, policies and

practices prescribed by the SEC, FERC, NRC and applicable state regulatory authorities.” Jones

and Pearson filed signed certifications with the SEC stating that the 2017 10-K did not contain any

false or misleading statement of fact, fairly presented the Company’s results of operations, was the

product of effective internal controls, and was free from fraud.

       56.     On February 21, 2018, the Company held an earnings call with analysts and

investors to discuss its fiscal 2017 financial results, which was led by Jones, Taylor, and Pearson.

During the call, Defendant Jones stated that the Company had been “very actively involved in a

multitude of efforts at both the state and federal levels to support our generation assets,” but he

was disappointed that those efforts had not yet resulted in “meaningful legislative or regulatory

support” for the Company’s nuclear facilities. Jones stated that FES would “continue to look at

all options regarding these units,” including by “continu[ing] to support policy solutions.”

       57.     On April 23, 2018, July 31, 2018, and October 25, 2018, the Company filed its

quarterly reports with the SEC for the quarters ending March 31, 2018, June 30, 2018, and

September 30, 2018, respectively. The filings claimed that the Company “and its subsidiaries

follow GAAP and comply with the related regulations, orders, policies and practices prescribed



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by the SEC, FERC, and, as applicable, the NRC, the PUCO, the PPUC, the MDPSC, the NYPSC,

the WVPSC, the VSCC and the NJBPU.” Defendants Jones and Strah filed signed certifications

with the SEC stating that the quarterly reports did not contain any false or misleading statement of

fact, fairly presented the Company’s results of operations, were the product of effective internal

controls, and were free from fraud.

         58.    On February 19, 2019, FirstEnergy filed its annual report for the fiscal year ended

December 31, 2018 with the SEC (the “2018 10-K”), which was signed by Defendants Jones and

Strah. The 2018 10-K stated that the Company “and its subsidiaries follow GAAP and comply

with the related regulations, orders, policies and practices prescribed by the SEC, FERC, and, as

applicable, the NRC, the PUCO, the PPUC, the MDPSC, the NYPSC, the WVPSC, the VSCC and

the NJBPU.” Defendants Jones and Strah filed signed certifications with the SEC stating that the

2018 10-K did not contain any false or misleading statement of fact, fairly presented the

Company’s results of operations, was the product of effective internal controls, and was free from

fraud.

         59.    On February 20, 2019, the Company held an earnings call with analysts and

investors to discuss its fiscal 2018 financial results, which was led by Defendants Jones and Strah.

In response to an analyst’s question regarding whether there was “anything at all” that FirstEnergy

was working on with respect to energy utility legislation in Ohio, Defendant Jones stated:

         Not in any specific form, Julien. Obviously, if our new leaders of the states – we
         have a new governor, a new speaker of the house, we’re going to have a new
         Chairman of the Public Utilities Commission. If they determine that they think the
         time is right to really put energy policy for the state back on the table in some
         fashion, legislatively, then we would expect to engage and provide our input. But
         it’s too early in the process for me to talk about what that might mean.

(Emphasis added).

         60.    On April 23, 2019, July 23, 2019, and November 4, 2019, the Company filed its


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quarterly reports with the SEC for the quarters ending March 31, 2019, June 30, 2019, and

September 30, 2019, respectively. The filings claimed that the Company “and its subsidiaries

follow GAAP and comply with the related regulations, orders, policies and practices prescribed

by the SEC, FERC, and, as applicable, the NRC, the PUCO, the PPUC, the MDPSC, the NYPSC,

the WVPSC, the VSCC and the NJBPU.” Defendants Jones and Strah filed signed certifications

with the SEC stating that the quarterly reports did not contain any false or misleading statement of

fact, fairly presented the Company’s results of operations, were the product of effective internal

controls, and were free from fraud.

         61.   On February 10, 2020, the Company filed its annual report for the fiscal year ended

December 31, 2019 with the SEC (the “2019 10-K”), which was signed by Defendants Jones and

Strah. The 2019 10-K stated that FirstEnergy “and its subsidiaries follow GAAP and comply with

the related regulations, orders, policies and practices prescribed by the SEC, FERC, and, as

applicable, the NRC, the PUCO, the PPUC, the MDPSC, the NYPSC, the WVPSC, the VSCC and

the NJBPU.” Defendants Jones and Strah filed signed certifications with the SEC stating that the

2019 10-K did not contain any false or misleading statement of fact, fairly presented the

Company’s results of operations, was the product of effective internal controls, and was free from

fraud.

         62.   On April 23, 2020, the Company filed its quarterly report with the SEC for the

quarter ending March 31, 2020. The filing claimed that the Company “and its subsidiaries follow

GAAP and comply with the related regulations, orders, policies and practices prescribed by the

SEC, FERC, and, as applicable, the NRC, the PUCO, the PPUC, the MDPSC, the NYPSC, the

WVPSC, the VSCC and the NJBPU.” Defendants Jones and Strah filed signed certifications with

the SEC stating that the quarterly report did not contain any false or misleading statement of fact,



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fairly presented the Company’s results of operations, was the product of effective internal controls,

and was free from fraud.

           63.   The above-referenced statements were materially false and/or misleading when

made because they failed to disclose adverse facts pertaining to the Company’s business,

operations, and financial condition. Specifically, the statements failed to disclose, among other

things, that: (i) the Company, its representatives, and affiliates orchestrated a $60 million campaign

to secure the passage of legislation favoring the Company and its affiliates; (ii) the Company, its

representatives, and affiliates secretly funneled tens of millions of dollars to and bribed Ohio

politicians to secure votes in favor of House Bill 6, a $1.3 billion bailout for the Company’s

unprofitable nuclear facilities; (iii) the Company, its representatives, and affiliates conducted an

advertising campaign in support of House Bill 6 and against a ballot initiative to repeal House Bill

6 by passing millions of dollars through entities to conceal the Company’s involvement; (iv) the

Company’s regulatory and legislative efforts were materially false and misleading; (v) the

Company was subject to risk of reputational, legal, and financial harm; and (vi) the Company’s

activities were likely to have a material adverse impact on FirstEnergy’s financial and business

results.

Materially False and Misleading Proxy Statements

           64.   On March 30, 2018, FirstEnergy filed its 2018 annual proxy statement with the

SEC (the “2018 Proxy”). The 2018 Proxy sought FirstEnergy stockholder approval of, among

other things, the reelection of the Directors Defendants and approval of executive compensation

on an advisory basis.

           65.   The 2018 Proxy omitted any disclosures regarding the FirstEnergy/Enterprise

bribery scheme. At the time the Director Defendants reviewed and approved the 2018 Proxy, they



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had knowledge of the bribery scheme, which placed FirstEnergy at material risk, but wrongfully

failed to disclose this information to the Company’s stockholders.

       66.        Due to the false and/or misleading statements in the 2018 Proxy, on May 15, 2018,

the Company’s stockholders voted to approve the proposals contained in the 2018 Proxy, including

the proposals to reelect the Director Defendants and approve executive compensation. If the

Company’s stockholders were fully informed regarding the bribery scheme, they would not have

voted to reelect the Director Defendants or approved FirstEnergy’s executive compensation.

       67.        On April 1, 2019, FirstEnergy filed its 2019 annual proxy statement with the SEC

(the “2019 Proxy”). The 2019 Proxy sought FirstEnergy stockholder approval of, among other

things, the reelection of the Directors Defendants and approval of executive compensation on an

advisory basis.

       68.        The 2019 Proxy omitted any disclosures regarding the FirstEnergy/Enterprise

bribery scheme. At the time the Director Defendants reviewed and approved the 2019 Proxy, they

had knowledge of the bribery scheme, which placed FirstEnergy at material risk, but wrongfully

failed to disclose this information to the Company’s stockholders.

       69.        Due to the false and/or misleading statements in the 2019 Proxy, on May 21, 2019,

the Company’s stockholders voted to approve the proposals contained in the 2019 Proxy, including

the proposals to reelect the Director Defendants and approve executive compensation. If the

Company’s stockholders were fully informed regarding the bribery scheme, they would not have

voted to reelect the Director Defendants or approved FirstEnergy’s executive compensation.

       70.        On April 1, 2020, FirstEnergy filed its 2020 annual proxy statement with the SEC

(the “2020 Proxy,” and together with the 2018 Proxy and the 2019 Proxy, the “Proxies”). The

2020 Proxy sought FirstEnergy stockholder approval of, among other things, the reelection of the



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Directors Defendants, executive compensation on an advisory basis, and a 2020 Incentive

Compensation Plan.

       71.     The 2020 Proxy omitted any disclosures regarding the FirstEnergy/Enterprise

bribery scheme. At the time the Director Defendants reviewed and approved the 2020 Proxy, they

had knowledge of the bribery scheme, which placed FirstEnergy at material risk, but wrongfully

failed to disclose this information to the Company’s stockholders.

       72.     Due to the false and/or misleading statements in the 2020 Proxy, on May 19, 2020,

the Company’s stockholders voted to approve the proposals contained in the 2020 Proxy, including

the proposals to reelect the Director Defendants, approve executive compensation, and approve

the Incentive Compensation Plan. If the Company’s stockholders were fully informed regarding

the bribery scheme, they would not have voted to reelect the Director Defendants, approved

FirstEnergy’s executive compensation program, or approved the Incentive Compensation Plan.

The Criminal Action is Filed and the Truth Emerges

       73.     On July 21, 2020, the U.S. Attorney’s Office for the Southern District of Ohio

announced that Householder and certain affiliates were arrested and charged in the Criminal

Action. USA v. Borges, Case No. 1:20-mj-00526 (S.D. Ohio). According to the press release

announcing the Criminal Action:

       FOR IMMEDIATE RELEASE
       Tuesday, July 21, 2020

       Ohio House Speaker, former chair of Ohio Republican Party, 3 other
       individuals & 501(c)(4) entity charged in federal public corruption
       racketeering conspiracy involving $60 million

       COLUMBUS, Ohio – The Ohio Speaker of the House was arrested this morning
       and charged in a federal racketeering conspiracy involving approximately $60
       million paid to a 501(c)(4) entity to pass and uphold a billion-dollar nuclear plant


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      bailout.

      It is alleged that Larry Householder, 61, of Glenford, Ohio, and the enterprise
      conspired to violate the racketeering statute through honest services wire fraud,
      receipt of millions of dollars in bribes and money laundering.

      Four other individuals were also arrested and charged. They include:

  •   Mathew Borges, 48, of Bexley, a lobbyist who previously served as chair of the
      Ohio Republican Party;
  •   Jeffrey Longstreth, 44, of Columbus, Householder’s longtime campaign and
      political strategist;
  •   Neil Clark, 67, of Columbus, a lobbyist who owns and operates Grant Street
      Consultants and previously served as budget director for the Ohio Republican
      Caucus; and
  •   Juan Cespedes, 40, of Columbus, a multi-client lobbyist.

      Generation Now, a corporate entity registered as a 501(c)(4) social welfare
      organization, was also charged.

      The five individual defendants had initial appearances via video conference at 1pm
      today, at which time the case was unsealed.

      According to the 80-page criminal complaint unsealed today, from March 2017 to
      March 2020, the enterprise received millions of dollars in exchange for
      Householder’s and the enterprise’s help in passing House Bill 6, a billion-dollar
      bailout that saved two failing, Ohio nuclear power plants from closing.

      The defendants then also allegedly worked to corruptly ensure that HB 6 went into
      effect by defeating a ballot initiative to overturn the legislation. The Enterprise
      received approximately $60 million into Generation Now from an energy company
      and its affiliates during the relevant period.

      As alleged, in February 2017, Longstreth incorporated Generation Now as a
      501(c)(4) social welfare entity purporting to promote energy independence and
      economic development; however, the entity was secretly controlled by
      Householder. As Clark stated in a recorded conversation, “Generation Now is the
      Speaker’s (c)(4).” Pursuant to federal law, the names and addresses of contributors
      to 501(c)(4)s are not made available for public inspection.

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      In March 2017, Householder began receiving quarterly $250,000 payments from
      the related-energy companies into the bank account of Generation Now. The
      defendants allegedly spent millions of the company’s dollars to support
      Householder’s political bid to become Speaker, to support House candidates they
      believed would back Householder, and for their own personal benefit. When asked
      how much money was in Generation Now, Clark said, “it’s unlimited.”

      The affidavit filed in support of the criminal complaint also alleges:

  •   In 2018, the enterprise spent energy company-to-Generation Now money on
      approximately 21 different state candidates – 15 (including Householder) in the
      primary, and six additional candidates in the general election. The Enterprise spent
      more than one million in fall 2018 alone to flood the airways with negative ads
      against enterprise opponents. Most of these candidates won the 2018 general
      election. All who won voted for Householder as Speaker.

  •   Money passed from the energy company through Generation Now was used to pay
      for Householder campaign staff, which would otherwise have been paid by
      Householder’s candidate committee, Friends of Larry Householder.

  •   Householder received more than $400,000 in personal benefits as a result of the
      payments into Generation Now, including funds to settle a personal lawsuit, to pay
      for costs associated with his residence in Florida, and to pay off thousands of dollars
      of credit card debt.

  •   The enterprise paid $15,000 to an individual to provide insider information about
      the ballot initiative and offered to pay signature collectors for the ballot initiative
      $2,500 cash and plane fare to stop gathering signatures.

      The racketeering conspiracy as charged in this case is punishable by up to 20 years
      in prison.

      “It takes courage for citizens to assist law enforcement in the ways detailed in the
      affidavit,” U.S. Attorney David M. DeVillers said. “We are grateful to those who
      felt a moral duty to work together with agents in bringing to light this alleged,
      significant public corruption.”

      “All forms of public corruption are unacceptable,” stated FBI Cincinnati Special



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       Agent in Charge Chris Hoffman. “When the corruption is alleged to reach some of
       the highest levels of our state government, the citizens of Ohio should be shocked
       and appalled.”

       The case is being investigated by the FBI. Deputy Criminal Chief Emily N.
       Glatfelter, Assistant United States Attorney Matthew C. Singer, as well as Assistant
       Deputy Criminal Chief Timothy Mangan and Assistant United States Attorney
       Megan Gaffney Painter, are representing the United States in this case.

       74.     The same day, an over eighty-page criminal complaint and affidavit were filed in

the Criminal Action. The filings described the scheme by the Company and its affiliates to

corrupt the political process in Ohio to secure passage of House Bill 6. The claims alleged in the

Criminal Action were supported by recorded conversations, text messages, documentary

evidence, and detailed transcripts of phone calls.

       75.     Following this news, the Company’s stock price fell to a low of only $22.85 per

share on July 22, 2020, forty-five percent below the stock’s closing price on July 20, 2020 of

$41.26 per share, on abnormally high trading volume.

Harm to the Company

       76.     As a result of Defendants’ breaches of fiduciary duties and other violations of law

as described herein, the Company has and will continue to suffer substantial harm.

       77.     The Criminal Action filed in July 2020 details the corrupt scheme pursued by

FirstEnergy and its affiliates to secure the passage of House Bill 6. The Company faces

significant costs, expenses, and fines in connection therewith.

       78.     Additionally, FirstEnergy, Jones, Pearson, Strah, and Taylor have been named as

defendants in a complaint for violations of the federal securities laws filed in this Court in

connection with the wrongdoing alleged herein. Owens v. FirstEnergy Corp., Case No. 2:20-cv-

03785 (S.D. Ohio) (the “Securities Action”). The Securities Action seeks remedies against the


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Company and its officers under Sections 10(b) and 20(a) of the Exchange Act and Rule l0b-5

promulgated thereunder. FirstEnergy will incur potentially substantial legal fees and costs in

connection with the Securities Action.

       79.     Furthermore, several class action complaints have been filed in this Court against

FirstEnergy alleging that the Company engaged in racketeering activity in violation of 18 U.S.C.

§ 1962 by committing the wrongdoing alleged herein. See Smith v. FirstEnergy Corp., Case No.

2:20-cv-03755 (S.D. Ohio); Hudock v. FirstEnergy Corp., Case No. 2:20-cv-03954 (S.D. Ohio)

(the “Hudock Action”); Buldas v. FirstEnergy Corp., Case No. 2:20-cv-03987 (S.D. Ohio) (the

“Buldas Action”).

       80.     Moreover, FirstEnergy’s business, goodwill, and reputation have been gravely

injured, and the Company’s market capitalization has been substantially damaged, losing millions

of dollars in value as a result of the misconduct alleged herein.

       81.     Defendants’ actions have irreparably damaged the Company’s corporate image

and goodwill. For at least the foreseeable future, the Company will suffer from the “liar’s

discount,” such that the Company’s ability to raise equity capital and/or debt on favorable terms

is now impaired.

                            DEFENDANTS’ FIDUCIARY DUTIES

       82.     By reason of their positions as officers and directors of the Company, and because

of their ability to control the business and corporate affairs of the Company, Defendants owed

and continue to owe the Company and its stockholders fiduciary duties of loyalty, good faith, and

due care, and were and are required to use their utmost ability to control and manage the Company

in a fair, just, honest, and equitable manner. Defendants were and are required to act in

furtherance of the best interests of the Company and its stockholders.

       83.     Each FirstEnergy director and officer owes to the Company and its stockholders

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the fiduciary duty to exercise good faith and diligence in the administration of the Company and

the use and preservation of its property and assets, as well as the highest obligations of fair

dealing.

       84.     Defendants, due to their positions of control and authority as directors and/or

officers of FirstEnergy, were able to and did, directly and/or indirectly, exercise control over the

wrongful acts complained of herein.

       85.     To discharge their duties, the officers and directors of FirstEnergy were required

to exercise reasonable and prudent supervision over the management, policies, controls, and

operations of the Company.

       86.     The conduct of Defendants described herein involves a knowing and culpable

violation of their obligations as directors and officers of FirstEnergy, the absence of good faith

on their part, and/or a reckless disregard for their duties owed to the Company and its stockholders

that Defendants were aware, or should have been aware, posed a risk of serious injury to the

Company.

       87.     The conduct of Defendants who were also officers and directors of the Company

has been ratified by the Director Defendants who collectively comprised FirstEnergy’s Board at

all relevant times.

       88.     Defendants had a duty to prevent and not to effect the dissemination of inaccurate

and untruthful information with respect to the Company’s financial condition, performance,

growth, operations, financial statements, business, earnings, internal controls, and present and

future business prospects, so that the market price of the Company’s common stock would be

based upon truthful and accurate information.

       89.     To discharge their duties, the officers and directors of FirstEnergy were required



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to, among other things: (i) ensure that FirstEnergy was operated in a diligent, honest, and prudent

manner in accordance with the laws and regulations of Ohio and the United States, and pursuant

to the Company’s Code of Business Conduct; (ii) conduct the affairs of FirstEnergy in an

efficient, business-like manner so as to make it possible to provide the highest quality

performance of its business, to avoid wasting FirstEnergy’s assets, and to maximize the value of

FirstEnergy’s stock; (iii) remain informed as to how the Company conducted its operations, and,

upon receipt of notice or information of imprudent or unsound conditions or practices, to make

reasonable inquiry in connection therewith, and to take steps to correct such conditions or

practices; (iv) establish and maintain systematic and accurate records and reports of the business

and internal affairs of the Company and procedures for the reporting of the business and internal

affairs to the directors and to periodically investigate, or cause independent investigation to be

made of, said reports and records; (v) maintain and implement an adequate and functioning

system of internal legal, financial, and management controls, such that the Company’s operations

would comply with all applicable laws, and the Company’s financial statements and regulatory

filings filed with the SEC and disseminated to the public and FirstEnergy’s stockholders would

be accurate; (vi) exercise reasonable control and supervision over the public statements made by

FirstEnergy’s officers and employees and any other reports or information that FirstEnergy was

required by law to disseminate; (vii) refrain from unduly benefiting themselves and other

FirstEnergy insiders at the expense of FirstEnergy and its stockholders; and (viii) examine and

evaluate any reports of examinations, audits, or other financial information concerning the

financial affairs of FirstEnergy and to make full and accurate disclosure of all material facts

concerning, among other things, each of the subjects and duties set forth above.

       90.     Each of the Defendants further owed to the Company and its stockholders the duty



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of loyalty requiring that each Defendant favor FirstEnergy’s and its stockholders’ interests over

his or her own while conducting the affairs of the Company, and refrain from using his or her

position, influence, or knowledge of the affairs of the Company to gain personal advantage.

       91.     At all times relevant hereto, Defendants were the agents of each other and of the

Company and were at all times acting within the course and scope of such agency.

       92.     Because of their advisory, executive, managerial, and directorial positions with

FirstEnergy, each of the Defendants had access to adverse, non-public information about the

Company.

       93.     Defendants, because of their positions of control and authority, were able to and

did, directly or indirectly, exercise control over the wrongful acts complained of herein, as well

as the contents of the various public statements made by the Company.

       94.     Moreover, the Company’s corporate documents detail the requirements of the

Board’s duties, requiring, among other things, that the Board actively identify and report any

illegal and/or unethical business practices within the Company.

       95.     FirstEnergy’s Code of Business Conduct provides, in relevant part:

       This Code of Business Conduct (the “Code”) serves as a reminder of the high
       standards we must meet in our day-to-day business activities. It also helps to guide
       us when formulating and pursuing Company goals and objectives.

       FirstEnergy personnel are all responsible for complying with applicable laws and
       regulations and the principles and provisions included in this Code.

       No single book or code of conduct policy can provide answers to every situation.
       This Code is to be used as a guide for ethical conduct and help foster a culture of
       honesty and accountability. It is endorsed by FirstEnergy’s Board of Directors and
       executives, communicates our culture of intolerance for retaliation, provides policy
       guidance, and concludes with a question and answer section.

       It is the responsibility of every one of us to comply with all applicable laws, rules
       and regulations and all provisions of this Code and related policies and procedures.
       This Code is designed to encourage you to lead by example with ethics and integrity
       and engage in open, honest, direct, and ongoing dialogue. In addition, our Company

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     has adopted a Corporate Compliance Program (“Program”) to assist all business
     units and personnel to fully comply with all applicable laws, regulations, and
     policies. The Program demonstrates that we intend to operate our business in
     accordance with sound business ethics. It includes many guiding principles for
     specific standards of conduct.

     “Maintaining high ethical standards builds trust with customers, shareholders,
     FirstEnergy Personnel, and the communities we serve. At FirstEnergy, we are all
     responsible for upholding high standards and being aware of ethical issues that we
     may face on the job.”

     Fair Dealing - We have built a reputation as a trustworthy and ethical member of
     our community and our industry. We are committed to maintaining the highest
     levels of integrity and fairness within our Company. When we fail to negotiate,
     perform, or market in good faith, we may seriously damage our reputation and lose
     the loyalty of our customers. You must conduct business, including dealings with
     the Company’s customers, suppliers, competitors and other personnel, Code of
     Business Conduct 6 honestly and fairly and not take unfair advantage of anyone
     through any misrepresentation of material facts, manipulation, concealment, abuse
     of privileged information, fraud, bribes, kickbacks, illegal payments, cash gifts,
     cash equivalent gifts or other unfair business practices. Also, please be aware that
     special rules apply when dealing with government employees. You should direct
     any questions about dealing with government employees to your supervisor.

     Conflicts of Interest - We should all be aware of any potential influences that impact
     or appear to impact our loyalty to FirstEnergy. A “conflict of interest” can occur
     when your personal interest interferes with – or may appear to interfere with – the
     interests of the Company as a whole, or when your personal interests make it
     difficult for you to perform your job duties objectively and effectively. Conflicts of
     interest also arise when personnel, or a member of his or her immediate family,
     receives improper personal benefits as a result of his or her position with the
     Company. Avoid situations in which your personal interests are in conflict, or
     appear to be in conflict, with the interests of the Company or your job
     responsibilities. This includes the use of knowledge gained through your work
     activities to make decisions that will lead to personal gain and that are contrary to
     the law or the interests of the Company. This also includes financial relationships,
     including equity interests and loans to, or guarantees of obligations of, the party
     with the FirstEnergy relationship. Furthermore, the Company will not make any
     loans or guarantees to executive officers or their family members.

     You also have the specific responsibility of understanding and abiding by the
     Company’s expanded Conflicts of Interest Policy.

     96.    Moreover, the Company’s Conflict of Interest Policy provides:

     All personnel, including the Chief Executive Officer, Chief Financial Officer and


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       Chief Accounting Officer, have an obligation to conduct Company-related business
       in an environment free from the influence of conflicting personal interests.
       Generally, a conflict of interest arises when our position or job responsibilities
       present an opportunity for personal gain or when an obligation or situation resulting
       from our personal activities and financial affairs may influence our judgment and
       action in the performance of our Company duties.

                  DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

       97.     Plaintiff brings this action derivatively in the right and for the benefit of

FirstEnergy to redress injuries suffered and to be suffered by the Company as a result of

Defendants’ breaches of fiduciary duties and other wrongful conduct alleged herein.

       98.     FirstEnergy is named as a nominal defendant solely in a derivative capacity.

       99.     This is not a collusive action to confer jurisdiction on this Court that it would not

otherwise have.

       100.    Plaintiff has continuously been a shareholder of the Company at times relevant to

the wrongdoing complained of herein and is a current FirstEnergy shareholder.

       101.    Plaintiff will adequately and fairly represent the interests of the Company in

enforcing and prosecuting its rights and has retained counsel competent and experienced to

prosecute this action.

       102.    When this action was filed, FirstEnergy’s Board consisted of eleven directors:

Defendants Anderson, Demetriou, Johnson, Jones, Misheff, Mitchell, O’Neil, Pappas, Pianalto,

Reyes, and Turner.

       103.    For the reasons set forth below, Plaintiff did not make a demand on the Board to

initiate this action because such a demand would be a futile, wasteful, and useless act, and is thus

excused.




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The Board Repeatedly Recommended Against Stockholder Proposals to Have Full
Transparency Regarding FirstEnergy’s Lobbying Activities

       104.   Nine of the current eleven Board served as directors as of March 2017: Defendants

Anderson, Demetriou, Johnson, Jones, Misheff, Mitchell, O’Neil, Pappas, and Reyes.

       105.   On March 31, 2017, the Company filed a proxy statement with the SEC (the “2017

Proxy”).   The 2017 Proxy contained shareholder proposal Item 9:              “Shareholder Proposal

Requesting an Annual Report on Lobbying Policies and Payments” (“Proposal 9”). According to

the 2017 Proxy, FirstEnergy stockholder The Nathan Cummings Foundation planned to introduce

Proposal 9 at the Company’s annual meeting:

       Whereas: we believe full disclosure of our company’s direct and indirect lobbying
       activities and expenditures is required to assess whether FirstEnergy’s lobbying is
       consistent with its expressed goals and in the best interests of shareholders.

       Resolved, the shareholders of FirstEnergy request the preparation of a report,
       updated annually, disclosing:

              a.     Company policies and procedures governing lobbying, both direct
              and indirect, and grassroots lobbying communications.

              b.      Payments by FirstEnergy used for (a) direct or indirect lobbying or
              (b) grassroots lobbying communications, in each case including the amount
              of the payment and the recipient.

              c.     FirstEnergy’s membership in and payments to any tax-exempt
              organization that writes and endorses model legislation.

              d.     A description of the decision making process and oversight by
              management and the Board for making payments described in section 2 and
              3 above.

       For purposes of this proposal, a “grassroots lobbying communication” is a
       communication is a communication directed to the general public that (a) refers to
       specific legislation or regulation, (b) reflects a view on the legislation or regulation
       and (c) encourages the recipient of the communication to take action with respect
       to the legislation or regulation. “Indirect lobbying” is lobbying engaged in by a
       trade association or other organization of which FirstEnergy is a member.

       Both “direct and indirect lobbying” and “grassroots lobbying communications”


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         includes efforts at the local, state and federal levels.

         The report shall be presented to the Audit Committee or other relevant oversight
         committee and posted on FirstEnergy’s website.

         As shareholders, we encourage transparency and accountability in FirstEnergy’s
         use of corporate funds to influence legislation and regulation, both directly and
         indirectly. FirstEnergy spent approximately $4.05 million in 2014 and 2015 on
         direct federal lobbying activities (opensecrets.org). These figures do not include
         lobbying expenditures to influence legislation in states, where FirstEnergy also
         lobbies but disclosure is uneven or absent. For example, FirstEnergy spent $1.07
         million on lobbying in New Jersey for 2014 and 2015, and FirstEnergy’s lobbying
         on energy rates in West Virginia has drawn media attention (“FirstEnergy Asking
         for Surcharge to Fund Improvements,” Charleston Gazette-Mail, August 25, 2016).

         FirstEnergy is listed as a member of the of the Edison Electric Institute and Nuclear
         Energy Institute, which together spent $21.32 million lobbying in 2014 and 2015.
         However, FirstEnergy does not disclose its membership in, or payments to, trade
         associations, or the amounts used for lobbying, despite a 2007 agreement with
         shareholders to annually disclose trade association payments used for political
         purposes (“More Firms to Make Political Disclosures,” CFO, April 4, 2007). Nor
         does FirstEnergy disclose membership in or contributions to tax exempt
         organizations that write and endorse model legislation, such as the American
         Legislative Exchange Council.

         We are concerned that FirstEnergy’s current lack of trade association disclosure
         presents reputational risk. Absent a system of accountability, company assets could
         be used for objectives contrary to FirstEnergy’s long- term interests.

         106.    However, the Board recommended against the approval of Proposal 9, which would

have required the disclosure of the illegal payments discussed herein. As set forth in the 2017

Proxy:

         Your company believes that it has a responsibility to participate in the legislative,
         regulatory and political process. Sharing its views and educating officeholders,
         regulators, community and business leaders, and the public on key issues helps your
         Company promote effective government and the interests of key stakeholder groups
         including our shareholders, employees and communities we serve. By engaging
         with elected officials, regulators, community and business leaders, and other
         decision makers, your Company strives to conduct its business as transparently as
         possible to serve customers effectively and help build public trust.

         In addition to the existing extensive framework of laws and public disclosure, your
         Company adopted a Political Activity Policy, which was most recently updated in


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     October 2016. The Political Activity Policy addresses your Company’s
     participation in the political process and political contributions and lobbying
     expenses.

     Such        policy      can     be      found        at      https://www.First
     Energycorp.com/investor/corporate_governance/policies_charters/corporate_polit
     ical_activity_policy.html.

     The Political Activity Policy also provides links to access your Company’s federal
     lobbing reports. Your Company complies with all federal and state lobbying
     registration and disclosure requirements, which include filing all required reports
     with the U.S. Congress and applicable state agencies.

     These reports detail information such as the particular bills and issues on which
     individual lobbyists had activity on behalf of your Company, as well as the
     lobbying expenses for specific time periods. As set forth in the Political Activity
     Policy, your Company maintains and files Lobbying Disclosure Act Reports (Form
     LD-2) with the U.S. Congress. These reports detail the particular bills and issues
     on which individual lobbyists had activity on behalf of your Company, as well as
     the total lobbying expenses, including payments made to trade organizations. These
     reports may be found at:
     http://www.senate.gov/legislative/Public_Disclosure/LDA_reports.htm.

     Additionally, as described in the Political Activity Policy, your Company and its
     registered federal lobbyists must also file semi-annual reports detailing, among
     other things, disbursements and personal and/or direct contributions to federal
     candidates national party committees. These forms (LD-203) may be found at:
     http://www.senate.gov/legislative/Public_Disclosure/LDA_reports.htm.

     State reports disclosing activity at the state and local levels, if required, are also
     made publicly available for review on the applicable state agency website.

     Your Company is committed to providing appropriate information and disclosures
     to its investors concerning its lobbying activities. Additionally, your Company
     believes that its current procedures and policies promote transparency and
     compliance with the law and addresses the concerns identified in the proposal.
     Preparation of reports beyond what is already produced would be a duplicative and
     onerous task that would divert important resources from alternative efforts that your
     Company’s Board and management deem to be in the best interests of your
     Company and its shareholders. Substantially similar shareholder proposals did not
     receive a majority of the votes cast in 2015 and 2016.

                           Your Board recommends that you
                   Vote “AGAINST” this shareholder proposal (Item 9).

     107.   The Board recommended against proposals similar to Proposal 9 in 2015 and 2016.


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The Director Defendants Face a Substantial Likelihood of Liability

          108.   The Director Defendants breached their fiduciary duties and engaged in other

violations of law as set forth herein, and face a substantial likelihood of liability in connection

therewith.

          109.   The size of the contributions totaling over $60 million could not have been

accomplished without the Director Defendants’ knowledge and approval.

          110.   All of the Director Defendants were required to participate in both the review and

approval of FirstEnergy’s activities, including, inter alia, payment of over $60 million to assist the

Enterprise, which resulted in the billion-dollar bailout of the Company’s failed nuclear power

plants.

          111.   Furthermore, the Director Defendants were directors either throughout or during

part of the time the false and misleading statements discussed herein were made. The Director

Defendants had and have a duty to ensure that FirstEnergy’s SEC filings, press releases, and other

public statements on behalf of FirstEnergy concerning its business, operations, prospects, internal

controls, and financial statements were accurate.

          112.   The Director Defendants knowingly and consciously reviewed, authorized, and/or

caused the dissemination of the materially false and misleading statements discussed herein, which

caused FirstEnergy’s stock to trade at artificially inflated prices.

          113.   The Director Defendants face a substantial likelihood of liability for, among other

things, their: (i) conscious and knowing making and/or authorization of false and misleading

statements; (ii) failure to timely correct such statements; (iii) failure to take necessary and

appropriate steps to ensure that the Company’s internal controls were sufficiently robust and

effective, and were being implemented effectively; and (iv) failure to take necessary and



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appropriate steps to ensure that the Director Defendants’ duties were being discharged in good

faith and with the required diligence.

       114.    If the Director Defendants were to initiate a lawsuit on behalf of the Company to

recover damages sustained as a result of this misconduct, they would expose themselves to

significant liability, which they will not do.

The Corporate Governance and Corporate Responsibility Committee Members

       115.    Defendants Johnson, Misheff, Mitchell, and Reyes (the “CGCR Committee

Defendants”) were members of the Corporate Governance and Corporate Responsibility

Committee during the period of wrongdoing alleged herein and allowed Defendants to engage in

the bribery scheme.

       116.    The responsibilities of the Corporate Governance and Corporate Responsibility

Committee included:

       Public Policy and Engagement

       We have decision-making and oversight processes in place for political
       contributions and expenditures. Our Corporate Political Activity Policy available
       on our website describes the criteria for certain political contributions and ballot
       initiative expenditures and the process for approving such contributions and
       expenditures. Also, your Board’s Corporate Governance and Corporate
       Responsibility Committee periodically reviews this policy and related practices as
       well as dues and/or contributions to industry groups and trade associations.

       117.    However, the CGCR Committee Defendants failed to stop the over $60 million that

was transferred from the Company to the Enterprise in exchange for securing House Bill 6.

The Audit Committee Members

       118.    Defendants Anderson, Misheff, Pianalto, and Turner (the “Audit Committee

Defendants”) were members of the Audit Committee during the period of wrongdoing alleged

herein, participated in and knowingly approved the filing of false statements, and allowed the



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Director Defendants to repeatedly make false and misleading statements to the investing public.

       119.    As members of the Audit Committee, the Audit Committee Defendants were

required to review FirstEnergy’s quarterly and annual reports to ensure that they were accurate.

       120.    However, the Audit Committee Defendants failed to ensure the integrity of

FirstEnergy’s financial statements and financial reporting process, FirstEnergy’s systems of

internal accounting and financial controls, and other financial information provided by

FirstEnergy, as required by the Audit Committee’s Charter.

Defendant Jones

       121.    Notably, throughout the period of wrongdoing, Defendant Jones conducted over

eighty telephone conferences with Householder.

       122.    Moreover, Jones earns an annual salary of over $9 million for serving as CEO of

the Company, which is a material amount to him. Jones will not independently consider whether

to initiate litigation against himself or the Board members who determine his compensation.

       123.    Further, Jones is a defendant in the Securities Action, the Hudock Action, and the

Buldas Action. He will not decide to initiate litigation against himself because doing so will

compromise his defense of the Securities Action, the Hudock Action, and the Buldas Action.

       124.    For all of the foregoing reasons, each of the Director Defendants (and at a

minimum, a clear majority of the Director Defendants) cannot consider a demand with

disinterestedness or independence, and demand upon the Board would be futile.

                                             COUNT I

                      Breach of Fiduciary Duties Against All Defendants

       125.    Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       126.    Each Defendant owed to FirstEnergy fiduciary duties, including the duty to exercise



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candor, good faith, due care, and loyalty in the management and administration of the Company’s

business and affairs.

       127.    Defendants have violated their fiduciary duties owed to the Company by engaging

in the misconduct alleged herein.

       128.    By virtue of their positions as directors and/or officers of FirstEnergy, as well as

their exercise of control over the business and corporate affairs of the Company, Defendants have,

and at all relevant times had, the power to control and influence, and did control and influence and

cause the Company to engage in the conduct alleged herein.

       129.    Each Defendant was required to use his or her ability to control and manage

FirstEnergy in a fair, just, and equitable manner, and act in furtherance of the best interests of

FirstEnergy and its shareholders and not his or her own interests.

       130.    Moreover, Defendants have a duty to implement a reasonable system of controls to

ensure that the Company is operated in accordance with all applicable laws. Defendants also have

a duty to respond in good faith to reports or indications that FirstEnergy or its employees are

engaging in unlawful or other improper behavior, and have a duty to oversee the Company’s CEO

to ensure that he is not breaching his fiduciary duties.

       131.    Defendants have acted in violation of the law and FirstEnergy’s internal policies,

including, among others, its policies regarding corporate governance, business conduct, and ethics,

by causing FirstEnergy to engage in the bribery scheme and to issue false and misleading

statements.

       132.    Additionally, at the times Defendants Jones and Pearson sold their FirstEnergy

shares as discussed above, they knew but did not publicly disclose that FirstEnergy was engaging

in the bribery scheme, had inadequate internal controls, and made false and misleading statements.



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Jones and Pearson made their stock sales on the basis of and due to their knowledge of material

non-public information. Defendants Jones and Pearson knew that the bribery scheme, inadequate

internal controls, and false and misleading statements would likely result in the artificial inflation

of FirstEnergy’s stock price. Accordingly, their sales of stock based on their knowledge of

material non-public information was a breach of their fiduciary duties of loyalty and good faith.

       133.    Based on the misconduct alleged herein, Defendants were not acting in good faith

toward the Company, but instead were acting recklessly and/or with intent to harm the Company,

and breached their fiduciary duties.

       134.    As a direct and proximate result of Defendants’ conscious failure to fulfill their

fiduciary duties, FirstEnergy has been and will continue to be damaged.

       135.    As a result of the misconduct alleged herein, Defendants are liable to the Company.

       136.    Plaintiff, on behalf of First Energy, has no adequate remedy at law.

                                            COUNT II

                          Unjust Enrichment Against All Defendants

       137.    Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       138.    By their wrongful acts and omissions, Defendants were unjustly enriched at the

expense of and to the detriment of the Company.

       139.    Defendants were unjustly enriched as a result of the compensation and

remuneration they received while breaching their fiduciary duties owed to the Company.

       140.    Moreover, Defendants Jones and Pearson were unjustly enriched through their

illegal sales of FirstEnergy stock as discussed above. It would be unconscionable to allow them

to keep the benefits of their misconduct.

       141.    Plaintiff, as a stockholder and representative of the Company, seeks restitution from



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Defendants, and each of them, and seeks an Order of this Court disgorging all profits, benefits,

and other compensation obtained by Defendants, and each of them, from their wrongful conduct

and fiduciary breaches.

       142.    Plaintiff, on behalf of the Company, has no adequate remedy at law.

                                            COUNT III

              Violations of Section 14(a) of the Exchange Act Against Defendants

       143.    Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       144.    Section 14(a) of the Exchange Act provides:

       It shall be unlawful for any person, by use of the mails or instrumentality of
       interstate commerce or of any facility of a national securities exchange or
       otherwise, in contravention of such rules and regulations at the [SEC] may prescribe
       as necessary or appropriate in the public interest or for the protection of investors,
       to solicit or to permit the use of his name to solicit any proxy or consent or
       authorization in respect of any security (other than an exempted security) registered
       pursuant to section 12 of this title [15 U.S.C. § 78l].

       145.    Rule 14a-9, promulgated under Section 14(a) of the Exchange Act, provides that

no proxy statements shall contain “any statement which, at the time and in the light of the

circumstances under which it is made, is false or misleading with respect to any material fact, or

which omits to state any material fact necessary in order to make the statements therein not false

or misleading.” 17 C.F.R. §240.14a-9.

       146.    Under the direction of Defendants, the Proxies failed to disclose, among other

things, the illegal bribery scheme described herein, and that the Company failed to maintain

adequate controls and oversight to prevent such wrongful conduct, thus rendering the filings false

and misleading.

       147.    In the exercise of reasonable care, Defendants should have known that by

misrepresenting and/or failing to disclose the forgoing material facts, the statements contained in



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the Proxies were materially false and misleading. The misrepresentations and omissions were

material to the Company’s shareholders in voting on the proposals contained in the Proxies.

       148.    The Company was damaged as a result of Defendants’ material misrepresentations

and omissions in the Proxies.

       149.    Plaintiff, on behalf of FirstEnergy, has no adequate remedy at law.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment against all Defendants as follows:

       A.      Declaring that Plaintiff may maintain this derivative action on behalf of FirstEnergy

and that Plaintiff is an adequate representative of the Company;

       B.      Appointing Plaintiff as lead plaintiff and Plaintiff’s counsel as lead counsel for this

derivative action;

       C.      Declaring that Defendants have breached their fiduciary duties to FirstEnergy;

       D.      Declaring that Defendants have violated Section 14(a) of the Exchange Act and

SEC Rule 10b-5;

       E.      Awarding to FirstEnergy the damages sustained as a result of the violations set forth

herein from each of the Defendants, jointly and severally, together with pre-and post-judgment

interest thereon;

       F.      Directing FirstEnergy to take all necessary actions to reform and improve its

corporate governance and internal procedures to comply with all applicable laws and protect the

Company and its stockholders from a recurrence of the misconduct described herein or similar

misconduct;

       G.      Awarding to Plaintiff the costs and disbursements of this action, including

reasonable attorneys’ fees, accountants’ and experts’ fees, costs, and expenses; and



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       H.     Granting such other and further relief as this Court deems just and equitable.

                                       JURY DEMAND

       Plaintiff hereby demands a trial by jury.

Dated: September 3, 2020                                Respectfully submitted,

                                                        /s/ Daniel R. Mordarski
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